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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                      )
                                               )          8:06CR383
                      Plaintiff,               )
                                               )
         vs.                                   )           ORDER
                                               )
LUIS CASTELLANOS-ORTIZ,                        )
                                               )
                      Defendant.               )


         The defendant’s Motion to Continue (Filing No. 21) is granted.
         IT IS ORDERED that the evidentiary hearing on all pending motions is continued
to March 27, 2007, at 9:30 a.m. before Magistrate Judge Thomas D. Thalken, Courtroom
No. 7, Second Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha,
Nebraska.
         Since this is a criminal case, the defendant must be present unless excused by the
Court.
         DATED this 23rd day of February, 2007.


                                              BY THE COURT:


                                              s/ Thomas D. Thalken
                                              United States Magistrate Judge
